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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

   EDWARD BUCKALEW, as Executor of the                      :     No. 0:13-cv-62758-WPD
   Estate of JEFFREY BUCKALEW, Deceased,                    :
   et al.,                                                  :
                                                            :
                                           Plaintiffs       :
           v.                                               :
                                                            :
   COLUMBIA AIRCRAFT SALES, INC., et al.                    :
                                                            :
                                          Defendants        :




    PLAINTIFFS’ AMENDED1 REPLY TO DEFENDANT COLUMBIA AIRCRAFT SALES,
      INC.’S OPPOSITION TO PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL
           AGAINST DEFENDANT COLUMBIA AIRCRAFT SALES, INC., ONLY




   1
     Amendment is correcting Scrivener’s Error at Section II(A)(3), paragraph 2, line 5 on page 4 and Section
   II(A)(6), paragraph 2, line 2 on page 7.
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   I.    INTRODUCTION

         Columbia’s Response in Opposition argues, in essence, that Buckalew can

   never (not now, not later, not ever) obtain a voluntary dismissal of his Florida action

   against Columbia (or against the Socata defendants, for that matter). That view is not

   supported by law, nor can that view possibly be what this Court intended when, in

   denying plaintiffs’ Second Renewed Motion for Motion to Stay, this Court stated that it

   did “not believe that discovery in this action will be a waste of the parties resources,

   even in the event that the Plaintiff ultimately proceeds with the Connecticut action

   in favor of this one”. (DE 84 at pg. 4) (emphasis added).

   II.   ARGUMENT

         A.     Columbia Will Not Suffer Clear Legal Prejudice Or Lose Any
                Substantial Right If Dismissed From This Case

         In its Brief, Columbia unconvincingly creates (or worse, fabricates) scenarios to

   support its claim that dismissal from the Florida action would cause Columbia clear legal

   prejudice.

                1.     Any Prejudice To Columbia’s Connecticut                Forum    Non
                       Conveniens Motion Is A Self-Inflicted Wound

         In the Connecticut action, Columbia made a strategic decision to file on July 23,

   2014, a Motion to Dismiss for Forum Non Conveniens or, In the Alternative, a Stay Of

   Proceedings in Connecticut in favor of the action pending in this Court.       Although

   Connecticut Practice Book § 10-30(c) states that the motion to dismiss “shall always be

   filed with a supporting memorandum of law and, where appropriate, with supporting

   affidavits as to facts not apparent on the record”, Columbia has twice asked the

   Connecticut Court to defer that mandatory briefing requirement.
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         At the same time Columbia was delaying the Connecticut action whenever

   possible, Columbia was arguing in this Court that the forum selection clause in the

   Purchase Agreement between Columbia and Cool Stream, LLC (“Cool Stream”)

   required that plaintiffs’ claims be brought only in Florida. Specifically, on May 27, 2014,

   Columbia argued:

         “. . . , Columbia and Cool Stream, LLC, an entity whose sole member is
         Jeffrey Buckalew and for which Edward Buckalew is currently its
         addressee for service, explicitly chose the Southern District of Florida as
         “the exclusive venue and proper forum in which to adjudicate any case or
         controversy arising, directly or indirectly, under or in connection with this
         Purchase Agreement and/or buyer’s ownership and/or operation of the
         Products purchased pursuant thereto.” Because the plaintiffs’ lawsuit
         clearly arises out of the Agreement and the ownership and/or operation of
         the Aircraft, the Southern District of Florida is a proper venue for this
         action and represents the parties’ preferred forum. (emphasis added).

   (DE 37 at pgs. 3-4). Again, on October 14, 2014 Columbia reiterated its position on the

   forum selection clause as follows:

         Although plaintiffs assert that their “chosen and desired forum for litigation
         of these claims is in Connecticut,” the parties entered into a contract years
         prior to the present litigation in which they set forth in no uncertain terms
         that the Southern District of Florida was their preferred forum. . .
         .(emphasis added).
                                                ...

         Plaintiffs’ claims in its Second Renewed Motion to Stay (D.E. 76) and
         Reply in Opposition (D.E. 43) regarding the forum selection clause are just
         conclusions of law without any factual support.

   (DE 79 at pgs. 3-4).

         To their credit, Columbia devised a clever strategy: file a Motion to Dismiss in

   Connecticut simply as a “placeholder” (without briefing or arguing that motion) and then

   use that motion as a “shield” to slow down and even to prevent merits discovery in

   Connecticut, and also use that motion as a “sword” in the Florida action to keep alive




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   the forum selection clause defense in order to prevent Buckalew from ever returning to

   Connecticut.     However, now, like a child caught with his hand in the cookie jar,

   Columbia cries foul simply because its improper and prejudicial strategy has been

   uncovered for the artifice it really is.

                  2.     Columbia Has Taken Inconsistent Legal Positions To The
                         Detriment Of Plaintiffs And The Court

          Columbia now contends that its previous statements to this Court that “the

   parties entered into a contract years prior to the present litigation in which they set forth

   in no uncertain terms that the Southern District of Florida was their preferred forum” is

   not an inconsistent statement or position, since when it made that argument “[t]he

   ‘parties’ who ‘entered into [that] contract’ could only have been referring to the Columbia

   and Socata Parties’ Socata TBM 700 Distributorship Agreement contract. . .”. (DE 102

   at pg. 18 fn. 7). (emphasis added).

          With all due respect to Columbia’s counsel, it’s one thing to advance a creative

   argument based on contentions that have evidentiary or legal support. However, it’s

   quite another thing to make frivolous arguments that are ridiculous and insulting to

   counsel, and more importantly, to this Court. Nowhere in its two opposition briefs, (DE

   37 and DE 79), is there any mention, reference, hint, or suggestion that the contract

   Columbia was referring to was the Socata-Columbia TBM Distributorship Agreement.

   Rather, both of those briefs refer solely and exclusively to the Columbia and Cool

   Stream Purchase Agreement.            Quite frankly, this new argument in footnote 7 of

   Columbia’s opposition brief is so beyond the pale that it constitutes a clear violation of

   Rule 11(b)(1)-(4) and it would not be inappropriate here for this Court to consider the

   entry of a show cause order under F.R.C.P. 11(c)(3).



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                  3.    What Constitutes Clear Legal Prejudice Sufficient To Deny
                        Plaintiffs’ Motion

          In Arias v. Cameron, 2015 U.S. App. LEXIS 785 (11th Cir., Jan. 20, 2015), the

   Court reiterated this Circuit’s adherence to the legal tests and principles set forth in

   McCants v. Ford Motor Co., 781 F.2d 855 (11th Cir. 1986) and Pontenberg v. Boston

   Scientific Corp., 252 F.3d 1253 (11th Cir. 2001) and their progeny.

          Columbia has not cited any case (from any jurisdiction) holding that a potential

   weakening (or even a loss) of a pending forum non conveniens motion in another

   jurisdiction constitutes clear legal prejudice or the loss of a substantial right sufficient

   to deny of plaintiffs’ Rule 41(a)(2) motion. On the contrary, a closer examination of the

   Eleventh Circuit’s decision in Arias reveals that Columbia’s suggestion that it does,

   lacks merit.

          In Arias, plaintiff filed suit in George state court. The defendants removed the

   case to federal court and filed a Rule 12 motion to dismiss arguing improper service of

   process resulting in plaintiff’s claims being time barred under Georgia’s two-year statute

   of limitations. Later, the defendants then filed an Answer, accompanied by a Rule 12(c)

   motion for judgment on the pleadings, making the same arguments concerning

   improper service and the statute of limitations expiration. Plaintiff’s filed a motion for

   voluntary dismissal pursuant to F.R.C.P. 41(a)(2), for the express purpose of allowing

   plaintiff to take advantage of Georgia state law permitting a litigant to re-file a case

   within six months of a voluntary dismissal after the expiration of the statute of

   limitations, when the original action was filed within the applicable statute of limitations,

   as was the case in Arias.




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         In upholding the district court’s grant of plaintiffs’ motion for voluntary dismissal,

   the Arias Court noted that the defendants effectively “created” the very statute of

   limitations defense that they now complain that they have been “stripped” of – a defense

   that did not even arguably exist until they removed the case to federal court. In the

   case at bar, the forum non conveniens motion in the Connecticut action is also

   something “created” (and deliberately “tabled”) by Columbia for the purpose of

   implementing Columbia’s overall strategy to keep the forum selection clause defense

   alive in Florida in order to prevent plaintiffs from ever returning to Connecticut. Also

   see, Goodwin v. Reynolds, 757 F.3d 1216 (11th Cir. 2014) (after reiterating that “court’s

   task is to ‘weigh the relevant equities and do justice between the parties’”, Court held

   that defendant’s loss of their preferred federal forum by removal from state court did not

   amount to clear legal prejudice).

                4.     The First Time Columbia Confirmed That The Forum Selection
                       Clause Was Inapplicable To Plaintiffs’ Claims Was In
                       December 2014

         The argument that Buckalew has known since July 2014 Columbia’s position

   that the forum selection clause was not relevant to plaintiffs’ claim in Connecticut is

   completely belied by the pleadings filed by Columbia in the Florida action. (DE 37 and

   DE 79). The argument also defies logic. Given that plaintiffs have filed multiple motions

   to stay this case for the sole purpose of allowing the Buckalew action in Connecticut to

   proceed, is it really plausible to believe that had Buckalew’s counsel actually known that

   in the Connecticut action Columbia had conceded that the forum selection clause was,

   in essence, being waived, that Buckalew’s counsel would have done nothing about, or

   not acted on, that concession? That makes no sense whatsoever. Rather, the only




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   logical explanation is what has actually occurred here; that is, as soon as Columbia

   confirmed its position on the record in December 2014, Buckalew’s counsel promptly

   moved for a Motion for Voluntary Dismissal of Columbia from the Florida action.1

                  5.      Columbia’s Proposed Joinder of Cool Stream, LLC

          Columbia’s argument surrounding the proposed joinder of Cool Stream, LLC

   (“Cool Stream”), is not credible. Specifically, Columbia now claims that Cool Stream

   can only be sued in Florida and if Columbia attempts to sue Cool Stream in

   Connecticut, it would prejudice their forum non conveniens motion. By advancing this

   argument here, Columbia has actually confirmed the following:

                 a.    Since Cool Stream has no other presence in or connection to
   Florida, the argument that Cool Stream can only be sued in Florida can only be based
   on the forum selection clause in the Purchase Agreement between Columbia and Cool
   Stream, and as such, by taking this position Columbia confirms that in their Connecticut
   forum non conveniens motion, it planned to argue (at least in some fashion) that the
   forum selection clause applied;

                 b.    Columbia wants to join Cool Stream in Florida so that it can now
   argue that since the forum selection clause applies, this supports keeping the Buckalew
   wrongful death claims “trapped” in Florida;

                 c.    Since the forum selection clause is the basis for Cool Stream’s
   joinder, then that clause, by its terms, mandates that Florida law apply to all of
   substantive issues and claims, without reference to Florida’s conflict of law rules; and,

               d.     Therefore, if Florida law applies (which it must and which
   defendants have urged in other pleadings) then Columbia’s proposed third-party
   complaint against Cool Stream for equitable indemnification and contribution should be
   denied because Florida law no longer recognizes those claims.

          It is precisely this circular logic that runs throughout all of Columbia’s arguments.

   They have made, and continue to make, inconsistent arguments in the two pending

   cases, for the sole purpose of forcing this case to proceed in Florida, and only in


   1
     Also see, Genter Decl. and Faxon Decl. and Plaintiffs’ Reply to the Socata Defendants’ Opposition to
   Plaintiffs’ Motion for Voluntary Dismissal which are incorporated herein.


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   Florida. Under the circumstances, a weighing of the equities under this Court’s Rule

   41(a)(2) analysis clearly points towards granting Plaintiffs’ Motion for Voluntary

   Dismissal of Columbia.2

                     6.      Columbia Should Not Have Asked The Court In Connecticut To
                             Defer Ruling On Its Forum Non Conveniens Motion

             Relying on Durkin v. Intevac, Inc., 258 Conn. 454 (2001) to suggest that its

   Connecticut forum non conveniens motion has merit, Columbia requests that this Court

   deny without prejudice plaintiffs’ Rule 41(a)(2) motion until the Connecticut Court rules

   on Columbia’s motion, a motion which Columbia has taken no action on other than

   request that it be deferred indefinitely. (DE 102 at pgs. 14-15).

             Aside from the absurdity of Columbia’s request, Durkin is totally distinguishable

   from the Buckalew case and does not support Columbia’s position.            Durkin was a

   product liability case arising out of the mid-air collision of two Australian military

   helicopters conducting a training exercise in Australia. The collision killed 18 Australian

   military personnel, making it the largest peacetime military disaster in Australia since

   1964. All plaintiffs in Durkin were Australian citizens. The accident was thoroughly

   investigated by an Australian Army Board of Inquiry which took recorded interviews of

   144 witnesses, nearly all of whom were Australian. Upon that factual background, the

   Durkin court held that the trial court abused its discretion in denying the defendant’s

   motion to dismiss on the ground of forum non conveniens. Buckalew is nothing like

   Durkin.

             Post-Durkin, Connecticut courts have continued to adhere to that decision’s

   guiding legal principles that (1) unless the balance is strongly in favor of defendant(s),


   2
       Also see, Declaration of Edward Buckalew, attached as Exhibit “1”.


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   plaintiffs’ choice of forum should rarely be disturbed, (2) invoking the doctrine of forum

   non conveniens is a drastic remedy and (3) plaintiffs’ choice of forum, even if chosen

   because it provides plaintiff with certain procedural or substantive advantages, should

   be respected unless equity weighs strongly in favor of defendants. See, generally,

   Temlock v. Temlock, 95 Conn. App. 505, 898 A.2d 209, 2006 Conn. App. LEXIS 226

   (App. Ct., May 23, 2006).3

           Finally, in Deutsche Bank AG v. Sebastian Holdings, Inc., supra, the court

   deemed it preferable to rule on forum non conveniens issues before addressing

   challenges to personal jurisdiction. Of course, for Columbia to have asked the Court in

   Hartford to do that would have been inconsistent with the defendant’s overall strategy of

   delaying the Connecticut case at all costs. Columbia’s forum non conveniens motion in

   Connecticut is, in the words of the Arias court, “by no means, a certain winner” and

   since, under the circumstances, it lacks merit, Columbia will not “even arguably suffer

   any cognizable prejudice as a result of the voluntary dismissal”.                      (See, Arias v.

   Cameron, 2015 U.S. App. LEXIS 785 at *1, and *12).

           B.      Columbia’s Rights To Participate In Discovery Of The United States
                   Will Not Be Lost Or Impaired In The Slightest

           Columbia argues that the provisions of 49 C.F.R. Subtitle A, Part 9 create “clear

   legal prejudice” if it is dismissed under Rule 41(a)(2). This is not so. On the contrary,

   those regulations contemplate the possibility of multiple legal proceedings and protect


   3
     Since Durkin, Connecticut courts have not hesitated to deny forum non conveniens motions. See,
   Deutsche Bank AG, v. Sebastian Holdings, Inc., 2014 Conn. Super. LEXIS 1680, 2014 WL 4056951
   (Superior Court, June 4, 2014); Mathis v. Marriott Int’l., Inc., 2014 Conn. Super. LEXIS 2230 (Super. Ct.,
   Sept. 12, 2014); Head United States v. Amer Sports Winter & Outdoor Americas, 2013 Conn. Super.
   LEXIS 653, 2013 WL 1493032 (Super. Ct., Mar. 22, 2013); Boston Prop. Exch. Transfer Co. v. Merrill
   Lynch, Pierce, Fenner & Smith, Inc., 2012 Conn. Super. LEXIS 2578, 2012 WL 5476911 (Super. Ct., Oct.
   16, 2012).



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    the interest of all parties or “potential parties”. Specifically, 49 C.F.R. Section 9.9(d)

    provides:

           (d)      Where multiple legal proceedings concerning those circumstances
           are pending, or can occur, it shall be the duty of the private litigant
           seeking the testimony to ascertain, to the extent feasible, the identities of
           all parties, or potential parties, to those proceedings and notify them
           that a deposition has been granted and that they have the opportunity
           to participate. The private litigant shall submit an affidavit or certification
           describing the extent of the search for parties and potential parties and
           listing the names of the parties and potential parties notified. (emphasis
           added).

    49 C.F.R. §9.15 (a)(6) also provides that the required request to agency counsel include

    [p]ursuant to §9.9(d) of this part, an affidavit or certification describing the extent of a

    search of parties and potential parties and listing the names of the parties and

    potential parties notified. . .”. (emphasis added).

           Here, Columbia’s rights, as a party, potential party, or even a party in the

    Buckalew Connecticut action, are all protected under these regulations.                Any party, in

    any case, must follow the regulations, which include certifying that Columbia was

    notified of any depositions and permitted to participate. This is true even if Columba

    wanted to participate for the sole purpose of a future contribution or indemnity action it

    brought against the United States after the conclusion of                Buckalew’s Connecticut

    action. 4

           Finally, as to Columbia’s lack of “party” status argument, and even though that

    contention fails to rise to the level of clear legal prejudice or the loss of a substantial

    right, this Court could grant plaintiffs’ voluntary dismissal motion and still allow Columbia

    third party action against the United States to proceed. In fact, in its Order Denying

    4
     Contrary to Columbia’s argument, the regulations also allow for multiple witness depositions where an
    employee has already provided testimony. See, 49 C.F.R. 9.9(e).



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    United States’ Motion to Dismiss Third Party Complaints, (DE 72), this Court’s rationale

    for permitting Columbia’s third party claims related to the Connecticut action to proceed

    was based on accepting the defendant’s position that they were seeking contribution or

    indemnity against the United States in this Court only if they were held liable in the

    Connecticut action. Thus, any perceived deprivation by Columbia about losing “party

    status” could be remedied by allowing its third party claim to continue, with plaintiffs’

    direct claims against Columbia proceeding in Connecticut. In that fashion, Columbia

    can participate in, and initiate, any discovery it wanted (although to date it has not

    conducted any discovery against the United States) and Columbia would have the

    benefit of this Court’s oversight and protection.5

    III.    CONCLUSION

            For all the foregoing reasons, together with the reasons set forth in plaintiffs’

    opening brief (DE 93), plaintiffs respectfully request that their Motion for Voluntary

    Dismissal be granted.          Furthermore, although this Court has already granted the

    defendants’ Request for Hearing, it is respectfully submitted that a hearing is not

    necessary.




    5
      Even if Buckalew ultimately elects to proceed against Socata in Connecticut (which is likely), their third
    party complaint against the United States could also continue, with discovery in Buckalew’s New York
    FTCA case coordinated by agreement of the parties, or pursuant to 28 U.S.C. § 1407.


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    Date: March 9, 2015               Respectfully submitted,

                                      Counsel for the Plaintiffs

                                      HELLER WALDMAN, P.L.

                                      /s/ Glen H. Waldman
                                      Glen H. Waldman, Esquire
                                      3250 Mary Street, Suite 102
                                      Coconut Grove, FL 33133
                                      Telephone: 305-448-4144
                                      E-mail: gwaldman@hellerwaldman.com

                                             and

                                      LAW OFFICE OF RICHARD E. GENTER

                                      /s/ Richard E. Genter
                                      Richard E. Genter, Esquire
                                      (Admitted Pro Hac Vice)
                                      610 Old York Road, Suite 200
                                      Jenkintown, PA 19046
                                      Telephone: (215) 884-8190
                                      E-mail: richard@genterlaw.com

                                      Counsel for Plaintiffs EDWARD BUCKALEW,
                                      Executor of the Estate of JEFFREY
                                      BUCKALEW, Deceased; EDWARD
                                      BUCKALEW, Executor of the Estate of
                                      CORINNE BUCKALEW, Deceased; EDWARD
                                      BUCKALEW, as Administrator of the Estate of
                                      JACKSON BUCKALEW, Deceased, and
                                      EDWARD BUCKALEW, as Administrator of the
                                      Estate of MERIWETHER BUCKALEW,
                                      Deceased




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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 9th day of March 2015, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF System.


                                                  /s/ Glen H. Waldman_____________
                                                  Glen H. Waldman




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